          Case 1:15-cr-00286-ADA-BAM Document 508 Filed 02/25/20 Page 1 of 2



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 6 United States of America

 7

 8                              IN THE UNITED STATES DISTRICT COURT

 9                                EASTERN DISTRICT OF CALIFORNIA

10

11   UNITED STATES OF AMERICA,                          CASE NO. 1:15-cr-00286-DAD-BAM
12                                Plaintiff,            STIPULATION REGARDING
                                                        CONTINUANCE; ORDER
13             v.
     ZAID ELODAT,
14
                                  Defendant.
15

16
                                               STIPULATION
17
            Plaintiff United States of America, by and through its counsel of record, and defendant, by
18

19 and through his counsel of record, hereby stipulate as follows:
20          1.     By previous order, this matter was set for sentencing on Monday, April 6, 2020, at

21                 10:00 a.m.
22          2.     By this stipulation, the parties now move to continue the matter to Monday, June 8,
23
                   2020, at 10:00 a.m.
24
            3.     The parties further stipulate to the following schedule:
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            Informal Objections Due:                                           May 11, 2020
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27          Final PSR Filed with the Court:                                    May 18, 2020

28          Formal Objections to PSR/Sentencing Memo due:                      May 26, 2020
                                                 1
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          Case 1:15-cr-00286-ADA-BAM Document 508 Filed 02/25/20 Page 2 of 2


            Responses to Formal Objections/Reply to Sentencing Memo:            June 1, 2020
 1
            IT IS SO STIPULATED.
 2

 3
     DATED:        February 24, 2020      Respectfully submitted,
 4
                                          McGREGOR W. SCOTT
 5                                        United States Attorney

 6
                                          /s/ Karen A. Escobar
 7                                        KAREN A. ESCOBAR
                                          Assistant United States Attorney
 8
 9 DATED:          February 24, 2020

10                                        /s/ Edward Robinson
                                          EDWARD ROBINSON
11                                        Counsel for Defendant
                                          Zaid Elodat
12

13

14

15                                               ORDER

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17          The court has reviewed and considered the stipulation of the parties to continue the

18 sentencing in this case. Good cause appearing, the sentencing hearing as to the above-named

19 defendant currently scheduled for April 6, 2020, is continued to June 8, 2020, at 10:00 a.m.
20 IT IS SO ORDERED.

21      Dated:    February 25, 2020
22                                                    UNITED STATES DISTRICT JUDGE

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